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UNrTED sTATEs BANKRUPTCV COURT, accruaer msTRlc'r oF FLORIDA

a_'a'_r~'_._ti<h assaults any
CHAPTER 13 PLAN (In(lividualAQ_iustirieiit nf__l)_el)ts\

 

 

 

 

 

l:l Original l’lan
|:| Amended Plan (`lndicate lst, ”»’_nd` etc. .-`\mended. ii`applicab|e)
|:] 3rd Mcditied Plan (lndicate |st` End. ctc. Moditied, it`applicable]
DEBTOR: .lu|io F l\iuguira JOINT DEBTOR: C.ASENO.: 15-21603 mi
SS#: xxx-xx- 2102 SS#: xxx~xx~
I. NOTICES
To Del:)tors: Plans that do not comply With local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certilicate of service filed Witb the Clerl~; pursuant to
Local Rules 2002-l (C){S), 3015~1(13)(2)` and 3015-2_ Debtor{s) must commence plan payments within 30 days ol`
filing the chapter 13 petition or within 30 days ol`cntry ofthe order convertingr the ease to chapter 13.

To Creditors: Your rights may be affected by this plan. You must tile a timely proofof claim in order to be paid. Your claim may
be reduced, modified or eliminated

To All Parties: Tlte plan contains no nonstaudal'd provisions other than those set out iu paragraph Vlll. Debtor[sj must chccl< one
box on each line listed below in this section to state Wliether the plan includes any oi`the t`ollowing:

 

 

 

 

 

 

T]ie valuation ofa secured claim, set out in Section lil. Which may result in a m mcludcd § NO[ inc[ud §§ nl
partial payment or no payment at all to the secured Creditor L
Avoidanee ofajudicial lien or nonpossessory1 nonpurchase-money security interest, set . . _ _`
Out in Sectjon m [:l lncluded ii l`\iot included
Nonstandard rovisions_. set out in Section Vlll l lncluded Not included
p "' ._ ..
II. PLAN PAYMENTS. LENGTH OF PLAN ANI) DEBTOR(S)' ATT()RNF.Y_'S___FE

 

A. MONTHLY PLAN PAVMENT: This Plan pays for the benth ofthe creditors the amounts listed below. including trustce‘s
fees ot` 10%1 beginning 30 days from the filing/Conversion date. ln the event the trustee does not retain the full 10%, any unused
amount Will be paid to unsecured nonpriority creditors pro-rata under the plan;

 

 

 

 

1. 51.769.14 t`ormont|is_l_to_Bl*;
2. $5:626.12 formonthsito 32 ;
3. t`or months__ to__ ',
B. DEBTOR(S]' ATTORNEY'S FEE: [:l NONE I::I PRO BONO
TOralFees; s5750.00 rmi Paid.- 32000.00 silence ot.e: s3750.00 *” j d
Payable $90.72 /month (l\/lonths ; to 31 )
Payable $937.50 /month(i\/lonths;?_.'£_ to 32 )

 

Al|cwed fees under LR 2016-1(B](2) are itemized below:
$3,500 Chapter 13 Case; $1,500 t`or l\/IMl\/I, $750.00 l\/[TV

Applieations for compensation must be filed t`or all fees over and above the Court's Guidelines t`or Compensation.
lll. TREATMENT OF SECURED CLAIIVIS

A. SECURED CLAlMS: m NONE
[Retain Liens pursuant to 1 1 U.S.C. §1325 (a)(j)] l\/lortt_tage(s)/Lien on Real or Personai i‘roperty:

 

l- Cl`edlt@l'i Baul< oT"America

ACldl"€SS.' PO BOX 5l70 \rrearagi_ ' Pn}'oi`f`un l’etition l)atc
Slml Valley’ CA 93062 l‘\/ll`\/ll\/l l’l’l’ l’ernianeut l’a_vnicnt $l.068.l{| /month (l`\/Ionths __i__ lujer )

 

lsast 4 Digits of
Account l\lo..' 1433

LF-3l [l`cv. 10r'3r“|7] }’agc l u|`-i

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Other:

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i)ebtur(s): .lu|io l" Mui;uira Casc number:1

 

E| Real Property
@Principal Residence
EOther Real Prope:'ty

Address ofCollateral:
334[) Palomino Drive Unit 202
Hollywood, FL

|:l Personal Property/Vehicle

Dcseription ot"Collateral:

Check one below for Rca| Propcrty;

@Esc:'ow is included in the regular payments

:]'l`bc dcbtor{s) will pay mtaxes Einsurance directly

 

2. Cr€dil@l'r visas orPalommo C<mdo

Address: 2950 N 28 Terrace

Hollywood` FL 33020 /\rrears l‘aynicnl (C`ure) __H§i$i()_£_l____ /month (Months ner to 3_| _ )
Last 4 Digits 010 Arrcars l’a_\’mcnl (t`urc) _$3£()__13€4_ nnont|i (Mouths _3__?_._ to 3__? ) l
AceountNo.: 2122
Otlier.'

Arrcaragel l’ayo i`t` on l’etition ])atc $7.410.110

 

 

l:l Real Property
@Principal Residence
:]Other Real Property

Address ofCollateral.'
3340 Palolnino Drive Unit 202
i-lol[ywood, Fl_,

|:l Personal Property,'\/ ehicle

Description ot` Collateral:

3- Cr€ffit@l'r trans OfPatommo Condo

Address: 2950 N 28 Terraee
Ho|lywood` FL 33020

Last 4 Digits of
Account No.: 2122

Other:

Chcck one below for Reiil Property:
[:]E,scro‘.'-.' is included in the regular payments

li}'|`he dcbtor(s) will pay |:ltaxes l:linsurance directly

Arreara 'e.' l’a\'ol`l`ou l’ctition Dale
?: ,

 

iie_tzular l’ayntent (l\»inintuiu) _ 5320,85 .'montli (l\/Ionths '__~_14_7 lo___`)__l___ )

 

|:l Real Property
lerincipal Residence

l:lOtber Real Property
.\ddress of Co|lateral:

|:l Personal P:'operty/Vehicle

 

Description ofCollateral:

Cliecl< one below for Real Propcrty:

|:|Escrow is included in the regular payments

|:|The debtor(s) Will pay l:ltaxes Einsurance directly

 

 

B. VALUATION OF COLLATERAL:
C. LIEN AVOIDANCE El NONE

[§] NoNa

D. SURRENDER ()F` COLLATERAIJ: Securcd claims liled by any creditor granted stay relici`in this section shall not receive a
distribution t`ont the Chapter 13 Trustee.

@ Noi\ie

l.F-3l (rev. l0/3/i7)

l’:lgc 2 ni`¢1

IV.

V].

Vll.

Vlll.

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Dehtor(s): .lu|io l" l\liiguii'a Cuse number: _Ld:;ll 603

 

E. DIRECT PAYMENTS: Secitred claims filed by any creditor granted stay i‘elief`in this section shall not receive a distribution
foni the Chapter 13 Ti“ustee.

[:l NoNis

|:l Tlte debtor(s) elect to make payments directly to each secured creditor listed below. 'l`hc dcbtor[s) request that upon
confirmation ofthis plan the automatic stay be terminated in rein as to the debtor(s) and in rem and in personam as to any
codebtor(s} as to these creditors l\lothing herein is intended to terminate or abrogate the debtorts)` state law contract rights

 

 

l\lame ofCt'editor Last_@_it;il_s___i:_£t__ccount No_. _l)i_:_sc_ription ofC`ol|ateral t/\ ddrcss` Vchic|e. ctgl
Bank ofAmerica 1433 3340 Paloinino l)rive llnit 202
llol|vwood, l~`L j ¢*
2 Villas of`Paloinino 2122 3340 Paloniino Drive Unit 202

H_ouywood, l*`l.
TREATMENT OF FEES AND PRIORlTY CLAIMS las defined in ll U.S.C. §507 and 11 U.S.C.§ 1322(3)(4)]
A. ADMINISTRATIVE FEES OTHER TIIAN DF.BTORS(S)' ATTORN_EY‘S FEE: El NONE
B. INTERNAL REVENUE SERVICE: I:l NONE
C. DOMESTIC SUPPORT OBLIGATION(SB: l:] NONB
D. OTHER: @ NONE

 

TREATMENT OF UNSECURED NONPRIORITY CREI)lTORS

A. Pay $107.11 fmonth(l`vlonths 1 tel )
Pay $512.32 /month(l\/lonths 32 to£)

Pro rata dividend will be calculated by the Ti‘tistee upon review oi` lilcd claims after bai' datc.
B. l:] lt" checked the Debtor(s) will amend/modifyl to pay 1009-h to all allowed unsecured nonpriority claims

C. SEPARATEL\’§bASSIFlEQ; l:] NONE

*Debtor(s) certify the separate classification(s) of" the claiin(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to ll U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED IJEASES: Secured claims filed by any creditor/lessor granted stay relicl`in this
section shall not receive a distribution from the Chapter 13 Ti'ustee.

l:l NONE
INCOME TAX RETURNS AND REFUNDS: l:] NONE
E| Debtoi'(s) will not provide tax returns unless requested by any interested party pursuant to l l l_i.S.{`_. § 521.

NON-STANDARD PLAN PR()VIS|ONS_ m N()NE

l:l Nonstandard provisions must be set forth below. /\ nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void_

 

Tlie Debtor will begin do make his payments directly to the Association and Banl< on 32th month.

 

i:] l\/[oi'tgag,e Modit`icatioii l\/lediatioii

l_.F-3| (re\'. 10'31'17] |’;i;__'e 3 o|`-l

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l.)el)lor(s]: .lulio l" i\.lut;uirlr (`asc nuntber: |$-72:|()11,")

 

PROPERTY OF THE ESTATE `WILL VEST IN THE DEBTOR(S) Ul"ON PLAN CONFIRMATION.

l declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

.'s/ Julio Muguira Debtor 1/19/2()[3 Joint Dehtor
ratio F Mugmm Df\t@ one
/s/ Ricardo Corona` Esq. 1/10/2018

Attorney With permission to sign on Date

Debtor(s)' behalf
By filing this doeument, the Attorney for Debtor(s) or Debtor(s), it'not represented by counsel. certifies that the \vording and

Ot‘der of the provisions in this Chapter 13 plan are identical to those contained in l,»oca| }"orm C,`hapter 13 Pl:tn and the plan
contains no nonstandard provisions other than those set out in paragraph \’II!.

LF-.'ll [rev 10‘3#'l'¢') l‘ilge4 nl`<l

